Case 18-30849 Document 15 Filed in TXSB on 03/15/18 Page 1 of 15

 

Fill in this information to identify the case:

Debtor name Bendco, lnc.

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

case number 18-30849 ij checkirrr\isis an

(if known} . .
amended frlrng

 

Official Form 207
Statement of Financial Affairs for Non-tndividuals Filing for Bankruptcy 04116

 

The debtor must answer every question. lf more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write the debtor's name and case number (if known).

1. Gross revenue from business

g None
ldentify the beginning and ending dates of the debtor's fiscal year, Sources of revenue Gross revenue
which may be a calendar year Chec|< ali that appiy. (before deductions

and exclusions

From the beginning of the M Operating a business

 

 

. . Frorn to Fl§ln date
fiscal year to filing date: M g |:E Other $363,150.68
For prior rear rer 01r0112017 w 12131;2017 M Operating a business
MMroo/YYYY numerva l:l Oiher $2.995,123.49
For the year before that' Fron'l 01[01]2015 to 12;31[2015 M Op@ra!mg a business
' MM/ co rvYYY MM r co rYYY\r |:l O“‘er $3,929,201-98

 

 

2_ Non-business revenue
include revenue regardless of whether that revenue is taxable Non-busr'ness income may include lnleresl, dividends, money collected from
lawsuits, and royalties i_ist each source and the gross revenue for each separate[y. Do not include revenue listed in line 'l.

None

M List Certain Transfers llrlade Before Filing for Bankruptcy

3. Certain payments or transfers to creditors with|n 90 days before filing this case

List payments or transiers~~including expense reimbursements--fo any creditor, other than regular employee compensation within 90 days
before filing this case unless the aggregate vaiue of all property transferred to that creditor is less than $6,425. {This amount may be
adjusted on 4/01/19 and every 3 years after that with respect to cases fifed on or afterthe date of adjustment.)

[:] None

Ot’ficial Form 207 Statement of Financial Affairs for Non-lndividuais Filing for Bankruptcy page 1

 

 

Case 18-30849 Document 15 Filed in TXSB on 03/15/18 Page 2 of 15

Bendco, tnc.
Nams

Debtor

Creditor's name and address

3.1. Reiiant Energy
Credltor's name
PO Box 650475
Street

Case number (if known)

Dates Totat amount or value

1216/17 - $14 891.82
$130.20
1216/17 -

 

18-30849

Reasons for payment or transfer

Check all that apply

m Secured debt

g Unsecured loan repayments
m Suppliers or vendors

$35.66
1216!17 -
$62.47
1216!17 -
$142.66
12118/17 -
$1,000
12127117 -
$3,752.55
1122:13 -
$4,911.94
1123:18 -
$197.92
1123/1a -
$149.79
1;23;13 -
$31.44
1;23;13 -
$44.49
2l1 ns -
$4,019.58
2120/1a -
$4,905.67
2126/1a -
$152.46
2126/13 -
$46.45
mens -
$208.21

 

|zl Services
75265 [IIi O‘“el
zlr> code

Dailas TX
City State

4. Payrnents or other transfers of property made within 1 year before filing this case that benefited any insider

List payments or transfers, including expense reimbursements made within 1 year before filing this case orr debts owed to an insider or
guaranteed or co-signed by an insider untess the aggregate value of ali property transferred to or for the benefit of the insider is iess than
$6.425. (Tnis amount may be adjusted on 4401/19 and every 3 years after that with respect to cases filed on or after the date of
adjustment.) Do not include any payments listed in fine 3. insiders include officers. directors, and anyone in control of a corporate debtor
and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such _affitiates; and
any managing agent of the debtor. 'l'i U.S.C. § t01(31).

 

 

 

 

|:t None

insider's name and address Dates Total amount or vaiue Reasons for payment or transfer
4.‘§. Lauren Friery See $24!348.00 Payroll and expense

'“Sider'$ name attached reimbursements

801 Houston Ave. list

Street

Pasadena TX 77502

City Siate ZiP Code

Re]ationship to debtor
Daughter of Rodney Friery, Debtor's VP

Officiai Forrn 207 Staternent of Fir\ancia| Affairs for Non-lndividua|s Fi|ing for Bankruptcy page 2

 

 

Case 18-30849 Document 15 Filed in TXSB on 03/15/18 Page 3 of 15

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor Bendco, lnc. Case number (if known} 18-30849
Narne

lnsider's name and address Dates Total amount or value Reasons for payment or transfer
4.2. Ricky Friery, Jr. See $43,230.80 Payroll and expense

insiders name attached reimbursements

801 chston Ave list

Street

Pasadena TX 77502

City State ZiP Code

Relationship to debtor

Son of Rick Friery, Sr., Debtor's CEO

lnsider's name and address Dates Total amount or vatue Reasons for payment or transfer
4_3. Tyler Friery See $4!743.00 Payroll and expense

inside'ls name attached reimbursements

801 Houston Ave. list

Street

Pasadena TX 77502

City State Z|P Code

Relationship to debtor

Son of Rodney Friery, Debtor's VP

lnsider's name and address Dates Total amount or value Reasons for payment or transfer
4.4. Rodney Friery See $86,735.37 Payroll and expense

§"Sid@‘*“$ name attached reimbursements

4001 Wood Guthrie Ct. list

Street

Deer Park TX 77536

City State ZEP Code

Re|ationship to debtor

Debtor's Vice President

lnsider's name and address Dates Total amount or value Reasons for payment or transfer
4.5. Raquei Friery See $140.00 Expense reimbursements

lns§der's name attached

801 Houston Ave. list

Street

Pasadena TX 77502

City State ZlP Cocie

Re|ationship to debtor

Daugher ot Debtor‘s CEO

lnsider‘s name and address Dates Total amount or value Reasons for payment or transfer
4-6. John Tharp See $261244.95 Expense reimbursements

lnsider's name attached

PO Box 1436 list

Str€et

Dickinson TX 77539

City State ZiP Cor£e

Relationship to debtor

Debtor‘s president
Ofticiai Form 207 Statement of Financial Af'fairs for Non-lndivlduals Fi|ing for Bankruptcy page 3

 

Case 18-30849 Document 15 Filed in TXSB on 03/15/18 Page 4 of 15

 

 

 

 

 

Debtor Ber!dco, lnc. Case number (if known) 18-30849
Name

lnsider's name and address Dates Total amount or value Reasons for payment or transfer
4.7. Rick Friery, Sr. See $71,158.88 Expense reimbursements

insidel"S name attached

2371 tndigo Harbor Lane list

Sireet

i_eague City TX 77573

City State ZlP Code

5.'1.

Relationship to debtor
Debtor's CEO

Repossessions, foreciosures, and returns

i_Est all property of the debtor that was obtained by a creditor within ‘l year before filing this case, including property repossessed by a
creditor, soid at a foreclosure sa§e, transferred by a deed in lieu cf foreciosure, or returned to the se|ier. Do not include property listed in
line 6.

|:l None
Creditor's name and address Description of the property Date Value of property
Susquehanna Comm Finance Roundo R'l January 201t $'|00,000.00

 

 

 

Creditor‘s name
2 Country View Road, Ste. 300
Street

 

 

N|alvern PA 19355
City State Z|P Code
Setoffs

i_ist any creditor, including a bank or financial insiitution, that within 90 days before fi§ing this case set off or otherwise took anything from
an account of the debtor without permission or refused to make a payment at the debtor‘s direction from an account of the debtor because

the debtor owed a debt

g None

Legal Actions or Assignments

7.

7.'1.

 

Legai actions, administrative proceedings, court actions, executions, attachments, or governmental audits
List the iegal actionsl proceedingsl investigations arbitrations, mediations, and audits by federal or state agencies in which the debtor

was invoived in any capacity~-within 1 year before filing this case.

 

 

 

 

 

m None
Case title Nature of case Court or agency's name and address Status of case
Dixie Pipe Sales v Bendco, Suit on account 377th District Court, Victoria Co., 't'X Pendm
et al. Nams m g
PO Box 2238 |:| On appeal
Slreet
M Concluded
Case number
2016-07-79738-D Victoria TX 77902
City Siate Z|P Code

Official Form 207 Statement of Financia| Affairs for Non-lndividuals Fi|ing for Bankruptcy page 4

 

 

Case 18-30849 Document 15 Filed in TXSB on 03/15/18 Page 5 of 15

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor BendCO, lnc. Case number (if known) 18-30849
Name
Case titie Nature of case Court or agency's name and address Status of case
7.2. Darr Equipment Co v Bendco Suit on account Co Civii Court at Law #3 Harris Co, TX M Pend.mg
Name
Harris Co Cierk |:| On appeal
Sfreet
E Conciuded
PO Box 1525
Case number
1084770 Houston TX 77251-1525
City State Z|P Code
Case title Nature of case Court or agency's name and address Status of case
7.3. Ascentium Capital LLC v Breach of contract 61st Civii District Court, Harris Co, TX Pendmg
Bendco lnc. Name m
Harris Co District Clerk i;[ On appeal
Street
M Conciuded
PO Box 4651
Case number
2017-14264 Houston T)( 77210-4651
City Staie ZiF’ Code
Case title Nature of case Court or agency's name and address Status of case
7.4. Perry Johnson Registrars v Suit on contract 52~4th District Court, Oakland Co, Nll .
n Pendlng
Bei"ldCO irlC. Name
520 W. Big Beavel' Rd g On appeal
Street
121 Conc|uded
Case number
16-C02167~GC Troy Nll 48084
City State ZlP Code
Case title Nature of case Court or agency's name and address Status of case
7,5. TUV Rheinland lndustrial Sol Sworn account B'tst Judicial District Ct, Harris Co, TX .
|:| Fendlr\g
v Bendco Name
Harris County District Cterk [:_'| Or‘ appeal
Street
E|` Concluded
PO Box 4651
Case number
201?~16847 Houston TX 77210
City State ZlP Code
Case title Nature of case Court or agency's name and address Status of case
7‘_6. Lightning Logistics LLC v Suit on account Co Civil Court at Law #3, Harris Co, T) .
|:| Pending
Bendco lnc. Name
Harris County Clerk [:] On appeai
Street
|Z'[ Conc|uded
PO Box 1525
Case number
1081019 Houston TX 77251-1525
City Slate Z|P Code
Case title Nature of case Court or agency’s name and address Status of case
7_7_ N|id South Fabrication v Suit on account Harris Co Justice Ct PCT #1 PL 2 M Pendm
Bendco inc. Name 9
1302 Preston m On appeal
Street
13 Conc!uded
Case number
CV-12C0152646 Houston TX 77002
City State ZlP Code

O€ficial Forrri 207 Statement of Financia| Affairs for Non-lndiv|duals Fi|ing for Bankruptcy page 5

 

 

Case 18-30849 Document 15

Debior Bendco, lnc.

7.8.

7.9.

7.10.

7.11.

7.12.

7.13.

Officia| Form 207

Name

Case title
i_one Star Heat Treating v
Bendco lnc.

Case number
1088328

Case title
Bank of America NA v
Bendco eta|

Case number
2017-23396

Case title

Texas Pipe & Suppiy v.
Bendco, lnc.

Case number
2017-74988

Case title

Shane Churchiil Green
Nlachine v Bendco

Case number
1 821 00051146

Case title
Pasadena tSD v Bendco

Case number
2017-73238

Case title
Lone Star Forklift v Bendco

Case number
JS-1700251D

Nature of case
Suit on account

Nature of case
Breach of contract

Nature of case
Suit on account

Nature of case
Suit on account

Nature of case
Tax

Nature of case
Suit on account

Filed in TXSB on 03/15/18 Page 6 of 15

Case number (if known) 18-30849

Court or agency's name and address

Co Civil Court at Law #4, Harris Co, T)¢

Name

Harris County Clerk
sireei

PO BOX 1525

Houston
city siaie ziP code

Court or agency's name and address

133rd Civil District Ct, Harris Co, TX
NalT|E

TX 77251~1525

 

 

 

Harris County District Court

street

PO Box 4651

i-louston TX 77210~4651
City State ZtP Code

Court or agency's name and address

#295th District Court, Harris CO, TX
Name

Harris County District Clerk
Street

 

 

PO Box 4651
Houston TX 77210
City State ZlP Code

Court or agency's name and address
JP Court Harris Co, Precinct 2, Pi 1

blame

 

 

 

10851 Scarsdale Bivd Ste 500
Street

Houston T)( 77089
city state ziP code

Court or agency's name and address
#151 st Dist. Ct., Harris Co., TX

Name

 

 

 

Harris County District Clerk

Street

PO Box 4651

Houston TX 77210
city state zia code

Court or agency's name and address

JP Court Precinct 2, Pl 'i, Dallas Co T)(

 

 

 

Name

140 N. Garland Ave.

Street

Garland TX 75040
city s:aie zir» code

Statement of Financia| Affairs for Non-lndividuals Fiiing for Bankruptcy

Status cf case
L'_] Pending

|:E On appeal
Conciuded

Status of case
Ef Pending

m Ori appeal
n Conciuded

Status of case
g Pending

E:] On appeal
g Concluded

Status of case
§§ Pending

m On appeal
m Concluded

Status of case
M Pending

n On appeal

[_'_'! Conclucled

Status of case
f_°] Pendirig

n On appeal
M Concluded

page 6

 

Case 18-30849 Document 15

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debfor Bendco, lnc. Case number (if known) 13-30849
Name
Case title Nature of case Court or agency's name and address
7.14_ Herc Renta|s v Bendco, inc. Suit on account #269th District Court, Harris Co, TX
et a|. Name
PO Box 4651
Street
Case number
2017-65692 Houston TX 77010
City State Z|P Code
Case title Nature of case Court or agency's name and address
7_15. Knight Capital Funding il v Notice of filing of foreign Harris Co Court At Law #2
Bendco et al judgment Name
Harris County C|erk
Street
Case number
11 05054 Houston TX
City State ZEP Code
Case title Nature of case Court or agency's name and address
7.16. Knlght Capital Funding ii v Breach of contract 11th Circuit Ct, N|iami-Dade Co, FL
Bendco et al Name
73 West Flag|er St.
Street
Case number
17-016726-CA-01 Niiami FL 33130
City State Z|P Code

Case title

7.17. Fastway Freight Systems v
Bendco, inc.

Case number
10451 26

Case title

7.18. Oi|patch NDT, LLC v Bendco,
lnc.

Case number
1095115

Case title
7.19. Susquehanna Commercial v
Bendco, lnc.

Case number
2017-006128-2

Officia| Form 207

Nature of case
Suit on account

Nature of case
Suit on account

Nature of case
Suit of final judgment

Court or agency's name and address

County Court At Law 4, Harris Co
Name

 

 

 

Harris County Clerk

Sireet

PO Box 1525

Houston TX 77251-1525
city state zlP code

Court or agency's name and address
County Court At Law #1, Harris Co

Name

 

 

 

Harris County C|erk

street

PO Box 1525

Houston TX 77251-1525
city state ziP code

Court or agency's name and address

County Court At Law #2, Tarrant Co, 1

 

 

 

Name

104 W. Weatherford St.

Slreet

Fort Worth TX 76196-0401
City State ZIP Code

Statement of Financial Affairs for Non-|ndividuals Filing for Bankruptcy

Filed in TXSB on 03/15/18 Page 7 of 15

Status of case
g Pending

g On appea£

m Concluded

Status of case
[;`7_[ Pending

m Ori appeal
m Concfuded

Status of case
m Pending

|:l On appeal
Conc|uded

Status of case
|:| Pending

m On appeal
|z[ Concluded

Status of case
[_'_] Pending

m Ori appeal
|Z'[ Conc|uded

Status of case
m Pending

[:] On appeal
m Conc|uded

page 7

 

 

 

 

Case 18-30849 Document 15 Filed in TXSB on 03/15/18 Page 8 of 15

 

 

 

 

 

 

Debtor BendCO, lnc. Case number (if known) 18-30349
Narne
Case title Nature of case Court or agency's name and address Status of case
7.20. TXU Energy Retai| Company Suit on account #162nd District Court, Da|las Co, TX .
E'[ Pending
v Bendco Name
600 Cornmerce St. [] Ori appeal
Street C E d d
onc u e
Suite 101 m
Case number
17-15481 Dalias TX 77502
City State ZIP Code

8. Assignments and receivership

List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
hands of a receiver, custodian, or other court-appointed officer within ‘l year before filing this case

M None
m certain Gifts and charitabie contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the
aggregate value of the gifts to that recipient is less than $1,000

|zf None

Part 5: Certain Losses

10. A|i losses from fire, theft, or other casualty within 1 year before filing this case.

m None

Certain Payments or Transfers

11. Payments related to bankruptcy
List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year
before the filing of this case to another person or entity, including attorneys. that the debtor consulted about debt consolidation or
restructuring seeking bankruptcy reiief. or filing a bankruptcy case.

|:] None

Who was paid or who received the transfer? |f not money, describe the property Dates Total amount
transferred or vaiue

11.1. Fuqua & Associates, PC 2’2"18 $8’717 ~_-_~$26'717'00
2121!18 $9,000
Address 2!21!18 $9,000

5005 Riverway
Sireet
Suite 250

Houston TX 77056
city state ziP code

 

Emaii or website address

rlfuqua@fuquatega|.com

Who made the payment, if not debtor?

 

Official Form 207 Statement of Financia| Affairs for Non-|nc|lvidua|s Fiiing for Bankruptcy page 8

 

Case 18-30849 Document 15 Filed in TXSB on 03/15/18 Page 9 of 15

Debtor Bendco, lnc. Case number (if known) 18-30849
Name

12. Se|f-sett|ed trusts of which the debtor is a beneficiary
List any payments or transfers of property made by the debtor or a person acting on behalf of the debtorwithin 10 years before the filing
of this case to a staff-settled trust or similar devioe.
Do not inciude transfers already Eisted on this statementl

|Z'[ i\lone

13. 'l'ransfers not already listed on this statement
List any transfers of money or other propeny--by saie, trade, or any other means--made by the debtor or a person acting on behalf of the
debtor within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or
financial affairs. include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this
statementl

E[ None

Previous Locations

14. Previous addresses
List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

]Z[ Does not apply

Health Care Bankruptcies

15. Health Care bankruptcies
ls the debtor primarily engaged in offering services and facilities for:
l diagnosing or treating injury, deformity, or disease, or
l providing any surgical, psychiatricl drug treatment, or obstetric care?

M No. Goio Pari 9.
|:l Yes. Fi|i in misinformation below.

m Personaliy identifiable information

16. Does the debtor collect and retain personally identifiable information of customers?

§_7_{ No.

m Yes. State the nature of the information collected and retained

 

 

Does the debtor have a privacy policy about that iniormalion?

[_°J No.
|:l Yes.

17. Withln 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(!<), 403(b) or
other pension or profit-sharing plan made available by the debtor as an employee benefit?

 

 

cl No. Go to Part10.

m Yes. Does the debtor serve as plan administrator?
M l\io. Go to Part 10.
g Yes. Fill in below:

Officia| Form 207 Statement of Financia| Affairs for Non-|ndividuals Fi|ing for Bankruptcy page 9

 

Case 18-30849 Document 15 Filed in TXSB on 03/15/18 Page 10 of 15

Bendco, lnc.
Name

Debtor

m Certain Financiai Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financiai accounts

Case number (if known)

18»30849

Within t year before filing this case, were any financiat accounts or instruments held in the debtors name, or for the debtor‘s benefit.

c!osed, soldl movedl ortransferred?

|nc!ude checking, savings, money market, or other financial accounts, certificates of deposit and shares in banks, credit unions, brokerage
houses, cooperatives associations1 and other financial institutions

|:] None

Financial institution name and address

18.1. Bank of Arnerica
Name

 

Street

 

 

city state zlP code

Financial institution name and address

18.2. Bank of America

Name

 

Street

 

 

City State ZlP Code

19. Safe deposit boxes

Last 4 digits of
account number

XXXX-

|~q

le
le
let

Last 4 digits of
account number

XXXX-

iii

Type of account

M Checking
g Savings

g Nloney market

g Brokerage
g Other

Type of account

EI Checking
m Savings

m Money market

L__l Brokerage
|:| OEher

Date account
was ciosed,
sold, moved,
or transferred

12/06117

Date account
was closed,
sold, moved,
or transferred

12!06!'|7

Last balance
before closing
or transfer

$0.00

Last balance
before closing
or transfer

$0.00

List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within ‘l year before

fiiing this case.

None

20. Otf-prernises storage

t_ist any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part cfa

buiiding in which the debtor does business

g None

Otficiai Form 207

Statement of Financial Affairs for Non-|ndividua|s Fiiing for Bankruptcy

page 10

 

 

 

Case 18-30849 Document 15 Filed in TXSB on 03/15/18 Page 11 of 15

Bendco, lnc.
Name

Del:)tozr

Case number (it known)

Property the Debtor Holds or Controls That the Debtor Does Not 0wn

21. Property held for another

18~30849

List any property that the debtor holds or controls that another entity owns. lnclude any property borrowed frornl being stored for, or held
in trust. Do not list Eeased or rented property

F_'l None

0wner's name and address
Rick Friery
Name

2407 intrepid Way
Street

Location of the property

801 Houston Ave.

Description of the property

Treadmill $1,500.
Pooi table $1,000.

 

 

 

League City TX 77573
city stare zlP code

0wner's name and address

James Perry
Name

2334 National

Pasadena 't'X 77502

Location of the property

801 Houston Ave.

Couch $50.
Nlini-fridge $50.

Description of the property

2016 Boss l-iog motorcycle

 

 

 

 

 

Description of the property
1995 Biue Freight Liner

 

$10,000
ViN: 1 FUY3N|DB42H595025;

 

 

 

 

S"eel Pasadena Tx 77502
Pasadena 't'X 77502

City State ZEP Code

0wner's name and address Location of the property

Anthony Friery 801 Houston Ave.

Name

2002 Redwood

S*“=‘@t Pasadena 'rx 77502
Kemah TX 77565

City State Z|P Code

 

Ofiicial Form 207

2004 international $30,000
VlN: 3HSCKAPR45N153424

Statemeni: of Financial Affairs for Non-lndividuais Fi|ing for Bankruptcy

Va|ue

$2!600.00

Va|ue

$30!000.00

Va|ue

$40!000.00

page 11

 

 

Case 18-30849 Document 15 Filed in TXSB on 03/15/18 Page 12 of 15

Debtor Bendco, lnc. Case number (if known) 18-30849
Name

Part 12: Details About Environmental information

For the purpose of Part 12, the following definitions app|y:

l Envr'ronmental law means any statute or governmental regulation that concerns poliution, contamination, or hazardous materiai, regardless or
the medium affected (air, land, Water, or any other medium).

 

I Sr'te means any iocation, facility, or property, including disposal sites. that the debtor now owns. operates, or utilizes or that the debtor
formerly cwned. operated, or utilized

i Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a poilutant, contarninr=int1 or a
similarly harmful substance

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law?
lnciude settlements and orders.

M No
g Yes. F’rovide details below.

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentialiy liable under or in
violation of an environmental law?

la No
|:] Yes. Provide details below.

24. Has the debtor notified any govermentai unit of any release of hazardous materia|?

MNO

m \’es. Provide details below.

m Detai|s About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
List any business for which the debtor was an ownerl partner, member, or otherwise a person in control within 6 years before fiiing this
case. include this information even if aiready tisted in the Scheduies.

|z[ None

26. Books, records, and financial statements

26a. t.ist atl accountants and bookkeepers who maintained the debtor‘s books and records within 2 years before fiting this case.

13 None

Name and address Dates of service

26a.1. Ka|ly |-[atcher From Aug. 25, 1997 'i'o May, 2016

Name

2903 Crane Dr.
Street

 

Peariand TX 77581
city slate zlP code

Officia| Form 207 Statement of Financial Af'fairs for Non-lndividua|s Fi|ing for Bankruptcy page 12

 

Case 18-30849 Document 15 Filed in TXSB on 03/15/18 Page 13 of 15

Debtor Bendco, lnc. Case number (if known) 18-30849
Name

26b. List ali firms or individuals who have audited, compiled, or reviewed debtors books of account and records or prepared a financial
statement within 2 years before fiting this case.

g None

Name and address Dates of service

26b.1. Doug Dickey From 2012 To present
Name
1120 Bay Area Blvd.
street

 

Houston TX 77058
City State ZiF Code

26c. i_ist all firms or individuals who were in possession of the debtor‘s books of account and records when this case is filed.

m None

Name and address if any books of account and records are
unavailabie, explain why

26€-1. Doug Dickey
Name

1120 Bay Area Blvd.
Sireet

 

Houston TX 77058
City state zlP code

Name and address |f any books of account and records are
unavailab|e, explain why

266.2. John Tharp

 

 

 

 

Name

PO Box 1436

Street

Dickinson TX 77539
Ciiy State ZEP Code

26d. List aii financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a
financial statement within 2 years before filing this case.

M None

27. inventories
Have any inventories of the debtors property been taken within 2 years before filing this case?

E] No.

ij Yes. Give the details about the two most recent inventories

28. List the debtor's officers, directors, managing members, general partners, members in contro|, controlling shareholders,
or other people in control of the debtor at the time of the filing of this case.

 

 

 

Name Address Position and nature of any interest % of interest, if any
The Friery Farniiy Umbre|la Trust Rick F. Friery, Sr., Trustee Soie shareholder l Ownership 100%
2407 intrepici Way interest
League City, TX 77573
Rick Friery, Sr. 2407 |ntrepid Way CEO f None
League City, 'E`X 775‘73
John Tharp PO Box 1436 Presient l None
Dickinson, TX 77539
Rodney Friery 4001 Wood Guthrie Court Vice Presidentl None

Deer Park, TX 77536

Officia| Form 207 Statement of Financial Atfairs for Non-|ndividuais Fiiing for Bankruptcy page 13

 

Case 18-30849 Document 15 Filed in TXSB on 03/15/18 Page 14 of 15

Case number rif knowo) 18~30849

 

Debior Bendcol lnc.
Name

29. Wllhin 'i year before the filing of this case, did the dohlor have oilioors, directors. managing momhars. general partners
members in control of the dobior, or shareholders ln control of the debtor who no longer hold these positions?

M No
g Yea. identity hoiow.
Pos|iion and nature of Poriod during which position

Name Artdroao
any interest or inforostwas held

30. Payments, distributiona, or withdrawals credited or given to insiders
Withln 1 year before filing this case. did tile debtor provide an insider with value in any lonn, including saiary, other compansation. drswa.

bonuses. loans. credits on loans, stock redemptions, and options exercisod?
No
[I Yes. identify beiow.

Name and address of recipient Amouni of money or description Dates mason for
and value of property providing the value

30.1. SEE # 4 ABOVE

Name

 

Si!¢oi

 

 

'c`i¢y stale zri= code

Reiaftonship to debtor

 

3‘i. Withln 6 yours before filing this oase, has the debtor been a member of any consolidated group for tax purposes?
[Z[ No
[;] Yea. ldoniliy betow.
32. Withln 6 years before filing this oasa, has the debtor as an employer been responsible for contributing to a pension fund?

[Qj No
m `(ss. identin baiow.

Par£14: Signaturo and Daciaratlon

WARN|NG ~~Baniiruptoy fraud is a serious crime. Making a false statementl concealing proporty. or obtaining money or property by fraud in
connection with a bankruptcy case can result in lines up to $500.000 or imprisonment for up to 20 years, or both.
iii U.S.C. §§ 152. 1341.1519.and 3671.

l have examined the information in this Statement of FinanciaiA(falrs and any attachments and have a reasonable belief that the information is
true and ci:rrrooil

l declare under penalty ot perjury that the foregoing is true and correct

Exeouied on@B é';/ ?Q ;..__`
-M'M‘f l YYYY -"“"""M.
...»»-»' ”’

 
 
 

.//r

x:_~
townsend signing on@M_cbwsdor

»e”nosiuon or relationship to debtor Presidant

Prtnted name John `i'harp

Are additional pages to Statement o!Fmancrul Arfairs for ivan-individuals Fiilng for Hankrirpray(oriiclal Form 207) attached?

g No
g Yos

official Form 207 Statement of Financial Aflairs for lion-individuals Flilng for Elani<ruptoy page 14

 

 

 

 

 

 

 

 

 

 

 

 

Case 18-30849 Document 15 Filed in TXSB on 03/15/18 Page 15 of 15

H.m£.ou.
526
m_`w`_Mo ~ \._.
w:o._.wo:
wo_mo.__wo;
w\w:wo~\._.
P\.H§o 5
§§ r_wo$.
Y_~Y_NQS_
MENQS.
md :No 3
w:m__wom q
m:w\m_c:*
mbwh~o g 4
m_\wm__no §
Q_YQS..~
m__.w.w\wo 5
m.__wm_`wo 3
EQ_MS...__
\__.._.H ruqu
..E who~.._e
dwaqu
.N__w T_Mo ~ q
me_..~?.wo:
$_N:Mc:.
m<wm`_wo;
m__N@_NE\...
HQ_.H 350 3
52 w.`wo 5
SE$.NQE
EDOBQS
E`_Mo_`.m.o:
:__U_`Mo.._ q
~ :w_`mo 5
:_`m_`wo :.
w wh eha :.
w wl S_mo :.
g §§qu
E._Q_Go 5
E.\.MW_GQ§
52 who ~ q
-_MN__NB q
E_`MY_NQ w q
r_.wm_`wo§
N_.Mw__.wo~m
m_`:wo m w
m_`M_~Nc ~ m
m___m<wo _ w

donor

 

>Eo_:.»
mmmo.oo
mmmc.oo
wmmo.oo
wmmo.oo
mmmo.oo
wmmo.oo
mmmo.oo
wwmo.oo
mwmo.oo
wmmo.oo
mm QQ.QQ
mmmo.oo
wmmo.oo
wmmo.oo
ammo.oo
wmmo.oo
mmao.oo
mmmo.oo
weighs
mmmo.oo
mm@o.oo
mmmo.oo
Qmoo.oo
wmmo.oo
m£m.co
mmao.oo
wmmo.oo
mwmo.oo
mmmo.oo
wmmo.oo
wmmo.co
mmmo.¢o
wmmc.oo
mmoo.oo
mumc.oo
mmmo.oo
mm@o.oo
mmmo.oo
mmmo.oo
mmmo.oo
mmoo.oo
m~ E.oo
mmmo.co
wmmo.oo
wowc.oo
we.o.o.oo

mue.wsw.oo

 

wman H~.
dunn
m.§wo g 4
m_$_§o 5
wh ...._`_.NE\...
w_`m£_wow.....
md :wo$_
£M:Mo g q
m_;m_`wo g q
mdm`_wo:*
91mequ
m___wm__mo 5
m\_w___wo;*
_m_`m`_wow q
m._m\wo:.*
91ququ
QDY.NOE.
q_\m__no ~ .w
.S MEE\__.
oh m`_wg..q
S_NQ_ME q
3m 553 q
mb?.mo~\__.*
w: HBQS*
m_`mo_`wo 5
m_`w:wo 5
o_`ww__wo~ ne
m__§__uo S.
Y_Nm__mo 5
w___~@_wow ...._*
wo_\~_`mo g di
3_6_`.\~0 E.*
B._GES\_..*
Shw`_mc:*
HQ_JHNO 5
He_;m\mo 5
511 E_G.o 3
~o\wo_\~o 5
~o\_wo_`wo ~._.
E_\Nm_`wo H ue
E_QQ_MQ §§
:_Q_wom q
:\w\wo:e
:_`w_`..~o~.w
H <w_`wo g q
55 §§qu
g E_S\wo S¥
d 5 H_mo$.
:__NNBQS_
HM.EMQ 5
Hm\_w\wo S._.
E_`G`_..~o w \...
E.Gw\wo w q
~Hmm\mo 5
v_ww`.wo~ w
M_®`_NQM me
m__..~w`_w§ m
w:___wo;
w\_NQo~m
w`_o\wo:w

HQBF

 

>Eo¢u»
mroho.oo
mrcec.co
w~oooo.oo
mrooo.oo
wroeo.oo
mroho.oo
wrooo.oo
wwoo.oo
wmm~.mo
me~.¢o
meade
mm§.mo
mgon
mm$.mc
wwmw.mo
wmm~.mo
wm$.mo
mqmw.mw
mom_.mo
mm§.mo
m~oo.oo
wrmoo.oo
mo@.mo
wm»$.mo
mmmo.oo
wm&imo
m\_..mm.mm
Eoo.oo
§oo.ao
women
393
mSo.oo
mwmw.mo
mcgee
mmm~.mo
mwm~.mo
mmm~.mo
m~oo.oo
mqoo.oo
mmn$.mo
m~oo.oo
mm§.mo
mmm~.mo
mmg.mo
mwoo.oo
wm&.mo
w@m~.mo
mom~.mo
wcm~.mo
mmm:\oo
mcmw.mm
mm$.mo
wmow.mw
Yoo.oo
Bm_m.ww
mm§.mo
m._._.mc.co
mam~.wo

MS.BE.S

 

minn
dim
Y_NP_mS.._.e
P_NEMQS*
~Q.wo_`wo 33
~Q_mo\.\~o §
Emo\wo:e
:2@§0§*
S`_N:Mo:.e
E,__w___wo;
HEGBO ~ q
~NQN_QO 3.
EG.@_QQ :.
d_wwb€. w
N_QP_ME m
w:__§ §
w\w.__wo§
Y®__.wc;

.Ho$_"

>Eo==»
wmo‘oo
mqo.oo
mmo.oo

mm 560
wmo.oo

m ~ E..oo

mowm.co

wm,»w.oo
momw.oo

m£._._..oo

§mm.oo

YG¢.QQ
MS..~.QQ
wamo.oo
mwmo.oc
wwmo.oo

wo..`.ow.oo

 

WR_§£`
Uw»n
w\w\wo~.»
mb dme 5
mem E_wo:
91 H reno 33
md two 33
md M\NQ 53
mdm__§ §§
md Hqu
m\w@_wom q
m\wo\wo~.w*
m\wd.`_mo~\._.e
mb CME..~*
m_\w__§ Szn
m\w@_$.o 5
\._.___~ :No 5
S_NENQ 3
md two §§
@_Jm_`wo 33
Q:m__mo S:.
P_w r__wo§
Y_NQ_NE\...
HQ_m_QQ 33
HQ.JS\NQ S.
HQEQ_G.Q 5
~o__.wo_`wo:
E_Qoh~o di
S_Qm_`mo §§
Ho_`.o.a_`mo 33
~o\mo_`mo 31
:_G_`No :.
g §§wa me
§§ comes
~ :NNBQS
B_E_NOS..,
555qu
E_`Nw\..~o g ...~
r_wm__©.o~ w
Swaa §§
fm §§ ge
w_\ U.`No ge
w`_ W..~B.S m
BN`..~Q §

HQBH

.." mode»om oh mvdonmo BWBEB§SH

>Eo=m»
Pemmo..e.__m
mh.mmo.qw
waewwohm
mm vcoerce
m H.woo.oo
mmvooo.oo
wmoo.oo
mwlqm.oo
mw.§m.oo
mmoo.oo
mwoo.oc
mrmoo.oo
mrmmo.oo
mwc§a.oo
wwo£~m.oc
wm.h§.oo
mwoo.co
mmoo.oo
mmvwoo.oo
mm.e.__.m.oo
mmco\_..m.ao
m rosado
mwoh...~m.oo
ww“§m.oo
mw.er._.m.oo
weapon
mooo.oo
mwoc.co
mmoo.oo
MN.RG.QQ
mmeogc.oo
ww.h.d.oo
ww.$m.oo
mmmm .oo
mmv.$.m.oo
mm.e._.$..oo
mm.k$.m.oo
m Fmoo.oo
wm oo.oo
wmwm.oo
mwo§m.oo
ww~ooo.oo

wmm.qmm.wq

worn
dog
md w.mg.~_i
m`_w£`wo:e
m__w@_wo_..~_i
Q.m__.wo~\.;
Q_B_No§*
Qm`.mo§e
m:m_\uo 53
QGEQ w di
m___»w_§o ii
md o_QQ 33
mbm__§o§e
NBM_EE\__.*
w\ww`_wo§e
m_$_`mo g as
w_£_§o §§
03 mbo:_._
m:w`_wo~..¥
PQP_ME.H*
m_`G`_NoM q..e
E_`M__wow me
HQ_E.\_NQS*
Ho`_w?.mo~\.¥
w time 53
:_;_Qo 32
H H___w_\wo 33
~ EQNQ 32
:: w`_wow.we
:_Go_`wow q..
HN___@.NO§*
MWQB.E._?
B__Qq__mo §§
EN___NE me
r_wm\wo~ me
M§GQ _ me
NB_QQ ge
mdmaon me
N_Qm__wo w we
HEDO w me
NQS`MO ~ me

HoB_"

>Bo=sn
mrooo.ca
go m cohn
mrcoo.oo
mg H.oo
mmoo.oo
wm§.oo
wraoo.oo
§ .Qoo.oo
mm ecoo.oo
wwoo.oo
m rooo.oo
wwoo.oo
mwoobo
mw oo.oo
mwoo.oo
mrmoo.oa
mwoo.oo
mmoo.¢c
mmoo.oo
wrooo.oo
mmoo.oo
mmoo.oo
mwom.cm
weoo.oc
mm ,.Bo.co
Mwoo.oo
mwo.oo
mo.:.oo
m rmoo.oo
mwoo.oo
mmoo.oo
wrooo.oo
w g om.oo
mrmoo.oo
mmoo.oo
mwoo.oo
mmoc.oo
wrooo.oo
mrooo.oo

wNm.N`E.ww

ang m_,
ano

m: T_NE we
md w_wow di
91 ~ 993 usa
m:m_`wo 53
m_;m_`wo §§
m\wmho :e
m_;m__uo di
m.`wm_`wo 32
m___ww_\_.~o §§
9_~@.~05*
m\m\wo._ \.§
mbm`_wo~..¥
m:w`_wo:e
Q_~NDE.._.*
Q_NP_ME.~*
mm m`_NE 1a
w§wom we
m.`_w__.mo;*
02 :wo §§
mdm__mo 33
@_J@__Qo S*
mb~bo 33
m__€.w__§ §§
5___~__1~0 ~\.:n
:\.w__.wo~qe
~F_@.No~\.¥
:&Eo:_.,
:_Jm_`wo S*
MNGBQS*
ww__m`_uo;*
H:NDE me
:NY_NQM me
N_QW_NE m*

.H.e_.b_"

 

>Eo==»
m rooo.oo
wm ob_..E.oo
§ o.woo.oo
mqoo.oc
moao.oo
wwo.oo
2093
wwhoo.oo
wmm. wm
m rooo.oo
mmoo.oo
m ~.ooo.oo
ma cuba
m rooo.oo
mmoo.oo
mrooo.aa
mmoo.oo
§o.oo
E.moo.oo
arooo.oo
mweooo.oo
waco.oo
roche
mmoo.oo
wmo.ooo.oc
mm.ooo.oo
mwvooo.oo
mBQ.Qo
YE.QQ
mrmoo.oo
m raoo.oo
mmoooo.oo
wmeooo.oo

m\Bme.wm

Hmn=o_
dunn
53 m_`wc §§
:_Jm_`wo :e

Ho»bw

.PEQE_~
.e;oo.oo
fo.oo

mphm.co

No. 4

‘¢'Ill'S

I Aft'

Attachment to Statement of Finnnc

